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                                                                          6                           IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   LOWELL and GINA SMITH, individually on                        No. C 18-05131 WHA
                                                                              behalf of all others similarly situated,
                                                                         11
United States District Court




                                                                                             Plaintiffs,
                               For the Northern District of California




                                                                         12                                                                 ORDER APPROVING
                                                                                v.                                                          STIPULATED PROTECTIVE
                                                                         13                                                                 ORDER SUBJECT TO
                                                                              FLAGSTAR BANK, FSB, a federal savings                         STATED CONDITIONS
                                                                         14   bank, and DOES 1-100, inclusive,
                                                                         15                  Defendants.
                                                                                                                             /
                                                                         16
                                                                         17          The stipulated protective order submitted by the parties is hereby APPROVED, subject to
                                                                         18   the following conditions, including adherence to the Ninth Circuit’s strict caution against
                                                                         19   sealing orders (as set out below):
                                                                         20                  1.      The parties must make a good-faith determination that any
                                                                         21          information designated “confidential” truly warrants protection under Rule 26(c)
                                                                         22          of the Federal Rules of Civil Procedure. Designations of material as
                                                                         23          “confidential” must be narrowly tailored to include only material for which there
                                                                         24          is good cause. A pattern of over-designation may lead to an order un-designating
                                                                         25          all or most materials on a wholesale basis.
                                                                         26                  2.      In order to be treated as confidential, any materials filed with the
                                                                         27          Court must be lodged with a request for filing under seal in compliance with Civil
                                                                         28          Local Rule 79-5. Please limit your requests for sealing to only those narrowly
                                                                                     tailored portions of materials for which good cause to seal exists. Please include
                                                                              Case 3:18-cv-05131-WHA Document 36 Filed 02/07/19 Page 2 of 3



                                                                          1      all other portions of your materials in the public file and clearly indicate therein
                                                                          2      where material has been redacted and sealed. Each filing requires an
                                                                          3      individualized sealing order; blanket prospective authorizations are no longer
                                                                          4      allowed by Civil Local Rule 79-5.
                                                                          5              3.        Chambers copies should include all material — both redacted and
                                                                          6      unredacted — so that chambers staff does not have to reassemble the whole brief
                                                                          7      or declaration. Although chambers copies should clearly designate which
                                                                          8      portions are confidential, chambers copies with confidential materials will be
                                                                          9      handled like all other chambers copies of materials without special restriction, and
                                                                         10      will typically be recycled, not shredded.
                                                                         11              4.        In Kamakana v. Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006),
United States District Court
                               For the Northern District of California




                                                                         12      the Ninth Circuit held that more than good cause, indeed, “compelling reasons”
                                                                         13      are required to seal documents used in dispositive motions, just as compelling
                                                                         14      reasons would be needed to justify a closure of a courtroom during trial.
                                                                         15      Otherwise, the Ninth Circuit held, public access to the work of the courts will be
                                                                         16      unduly compromised. Therefore, no request for a sealing order will be allowed
                                                                         17      on summary judgment motions (or other dispositive motions) unless the movant
                                                                         18      first shows a “compelling reason,” a substantially higher standard than “good
                                                                         19      cause.” This will be true regardless of any stipulation by the parties. Counsel are
                                                                         20      warned that most summary judgment motions and supporting material should be
                                                                         21      completely open to public view. Only social security numbers, names of
                                                                         22      juveniles, home addresses and phone numbers, and trade secrets of a compelling
                                                                         23      nature (like the recipe for Coca Cola, for example) will qualify. If the courtroom
                                                                         24      would not be closed for the information, nor should any summary judgment
                                                                         25      proceedings, which are, in effect, a substitute for trial. Motions in limine are also
                                                                         26      part of the trial and must likewise be laid bare absent compelling reasons. Please
                                                                         27      comply fully. Noncompliant submissions are liable to be stricken in
                                                                         28      their entirety.


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                                                                          1                  5.      Any confidential materials used openly in court hearings or trial
                                                                          2          will not be treated in any special manner absent a further order.
                                                                          3                  6.      This order does not preclude any party from moving to
                                                                          4          undesignate information or documents that have been designated as confidential.
                                                                          5          The party seeking to designate material as confidential has the burden of
                                                                          6          establishing that the material is entitled to protection.
                                                                          7                  7.      The Court will retain jurisdiction over disputes arising from the
                                                                          8          proposed and stipulated protective order for only NINETY DAYS after final
                                                                          9          termination of the action.
                                                                         10
                                                                         11          IT IS SO ORDERED.
United States District Court
                               For the Northern District of California




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                                                                         13   Dated: February 7, 2019.
                                                                                                                                  WILLIAM ALSUP
                                                                         14                                                       UNITED STATES DISTRICT JUDGE
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